Exhibit 1
International	  Ethical	  Principles	  for	  
Scholarly	  Publication


1.	  Aims	  and	  Scope
Publication	  (usually	  in	  a	  peer	  reviewed	  learned	  journal)	  is	  an	  important	  component	  of	  the	  overall	  research	  
process,	  and	  provides	  prima	  facie	  evidence	  for	  the	  quality	  and	  impact	  of	  the	  research	  work	  of	  its	  authors	  and,	  
by	  extension,	  the	  institutions	  that	  support	  them	  and	  the	  agencies	  which	  funded	  them.	  Progress	  in	  science	  
depends	  on	  publication	  of	  research	  results.	  It	  is	  important	  to	  set	  standards	  of	  behaviour	  for	  authors,	  journal	  
editors,	  peer	  reviewers,	  publishers	  or	  societies	  for	  society-­‐owned	  or	  sponsored	  journals.	  All	  involved	  must	  act	  
with	  honesty	  and	  fairness,	  and	  the	  processes	  must	  be	  transparent	  and	  trustworthy.	  These	  guidelines	  
concentrate	  on	  the	  maintenance	  of	  ethical	  standards	  in	  publication,	  recognising	  that	  it	  is	  an	  important	  role	  of	  
the	  publisher	  to	  support	  the	  huge	  efforts	  made	  by	  journal	  editors,	  and	  the	  often	  unsung	  volunteer	  work	  
undertaken	  by	  peer	  reviewers,	  in	  maintaining	  the	  integrity	  of	  the	  scholarly	  record.	  The	  publisher	  has	  a	  
supporting,	  investing	  and	  nurturing	  role	  in	  the	  scholarly	  communication	  process	  but	  is	  also	  ultimately	  
responsible	  for	  ensuring	  that	  best	  practice	  is	  followed	  in	  its	  publications.	  	  




2.	  General	  principles	  
2.1	  Conflict	  of	  Interest	  
Examples	  of	  potential	  conflicts	  of	  interest	  include	  employment,	  consultancies,	  stock	  ownership,	  honoraria,	  
paid	  expert	  testimony,	  patent	  applications/registrations,	  and	  grants	  or	  other	  funding.	  Potential	  conflicts	  of	  
interest	  should	  be	  disclosed	  to	  the	  journal	  at	  the	  earliest	  possible	  stage.	  
	  
All	  authors	  should	  disclose	  in	  their	  manuscript	  any	  financial	  or	  other	  relevant	  interest	  that	  might	  be	  construed	  
to	  influence	  the	  results	  or	  interpretation	  of	  their	  work.	  All	  sources	  of	  financial	  support	  for	  the	  project	  should	  
be	  disclosed.	  
	  
Editors	  should	  recuse	  themselves	  from	  considering	  manuscripts	  (i.e.	  should	  ask	  a	  co-­‐editor,	  associate	  editor	  or	  
other	  member	  of	  the	  editorial	  board	  to	  review	  and	  consider)	  in	  which	  they	  have	  conflicts	  of	  interest	  resulting	  
from	  competitive,	  collaborative,	  or	  other	  relationships	  or	  connections	  with	  any	  of	  the	  authors,	  companies,	  or	  
(possibly)	  institutions	  connected	  to	  the	  papers
.	  
Reviewers	  should	  not	  consider	  manuscripts	  in	  which	  they	  have	  conflicts	  of	  interest	  resulting	  from	  competitive,	  
collaborative,	  or	  other	  relationships	  or	  connections	  with	  any	  of	  the	  authors,	  funders,	  or	  institutions	  connected	  
to	  the	  paper	  or	  any	  relevant	  interests	  in	  organizations	  that	  might	  benefit	  or	  suffer	  from	  publication	  of	  the	  
work.
2.2	  Confidentiality	  
No	  information	  shall	  be	  disclosed	  about	  any	  submitted	  manuscript	  to	  anyone	  other	  than	  the	  corresponding	  
author,	  potential	  reviewers,	  actual	  reviewers,	  other	  editorial	  advisers,	  and	  the	  publisher,	  as	  appropriate.	  
Manuscripts	  received	  for	  review	  must	  be	  treated	  as	  confidential	  documents.	  They	  must	  not	  be	  shown	  to	  or	  
discussed	  with	  others	  except	  as	  authorised	  by	  the	  editor.	  



2.3	  Privileged	  Information/Transparency
Unpublished	  materials	  disclosed	  in	  a	  submitted	  manuscript	  must	  not	  be	  used	  in	  an	  editor's	  or	  reviewer’s	  own	  
research	  without	  the	  express	  written	  consent	  of	  the	  author.	  Privileged	  information	  or	  ideas	  obtained	  through	  
peer	  review	  must	  be	  kept	  confidential	  and	  not	  used	  for	  personal	  advantage.




3.	  Principles	  Specific	  to	  Actors
3.1	  Authors
3.1.1	  Reporting	  standards	  and	  research	  conduct
Authors	  of	  reports	  of	  original	  research	  should	  present	  an	  accurate	  account	  of	  the	  work	  performed	  as	  well	  as	  an	  
objective	  discussion	  of	  its	  significance.	  Underlying	  data	  should	  be	  represented	  accurately	  in	  the	  paper.	  A	  paper	  
should	  contain	  sufficient	  detail	  and	  references	  to	  permit	  others	  to	  replicate	  the	  work.	  Fraudulent	  or	  knowingly	  
inaccurate	  statements	  constitute	  unethical	  behaviour	  and	  are	  unacceptable.
Review	  articles	  and	  commentaries	  should	  also	  be	  accurate	  and	  objective,	  and	  ‘opinion	  pieces’	  should	  be	  clearly	  
identified	  as	  such.	  
	  
If	  the	  work	  involved	  chemicals,	  procedures	  or	  equipment	  that	  have	  hazards	  inherent	  in	  their	  use	  that	  might	  
not	  be	  apparent	  to	  other	  researchers,	  the	  author	  must	  clearly	  identify	  these	  in	  the	  manuscript.	  
	  
If	  the	  work	  involved	  the	  use	  of	  animal	  subjects	  or	  human	  participants,	  the	  author	  should	  seek	  assurance	  that	  
all	  procedures	  were	  performed	  in	  compliance	  with	  relevant	  laws	  and	  institutional	  guidelines	  and	  that	  the	  
appropriate	  institutional	  committee(s)	  have	  approved	  them.	  Authors	  should	  include	  a	  statement	  in	  the	  
manuscript	  that	  informed	  consent	  was	  obtained	  for	  experimentation	  with	  human	  participants.	  The	  privacy	  
rights	  of	  individuals	  must	  always	  be	  observed.



3.1.2	  Data	  Access	  and	  Retention
Authors	  may	  be	  asked	  to	  provide	  the	  raw	  data	  in	  connection	  with	  a	  paper	  for	  editorial	  review,	  and	  should	  be	  
prepared	  to	  provide	  public	  access	  to	  such	  data	  (See	  the	  ALPSP-­‐STM	  Statement	  on	  Data	  and	  Databases),	  if	  
practicable,	  and	  should	  in	  any	  event	  be	  prepared	  to	  retain	  such	  data	  for	  a	  reasonable	  time	  after	  publication.	  



3.1.3	  Originality	  and	  Plagiarism
Plagiarism	  takes	  many	  forms,	  from	  ‘passing	  off’	  another’s	  paper	  as	  the	  author’s	  own	  paper,	  to	  copying	  or	  
paraphrasing	  substantial	  parts	  of	  another’s	  paper	  (without	  attribution),	  to	  claiming	  results	  from	  research	  
conducted	  by	  others.	  Plagiarism	  in	  all	  its	  forms	  constitutes	  unethical	  behaviour	  and	  is	  unacceptable.	  Authors	  
should	  submit	  original	  works	  and	  sources	  must	  be	  appropriately	  cited	  or	  quoted.



3.1.4	  Multiple,	  Redundant	  or	  Concurrent	  Publication
An	  author	  should	  not	  in	  general	  publish	  manuscripts	  describing	  essentially	  the	  same	  findings	  in	  more	  than	  one	  
journal	  of	  primary	  publication.	  Submitting	  the	  same	  manuscript	  to	  more	  than	  one	  journal	  concurrently	  also	  
constitutes	  unethical	  behaviour	  and	  is	  unacceptable.	  
In	  general,	  an	  author	  should	  not	  submit	  for	  consideration	  in	  another	  journal	  a	  previously	  published	  paper.
Publication	  of	  some	  kinds	  of	  articles	  (eg,	  clinical	  guidelines,	  translations)	  in	  more	  than	  one	  journal	  is	  
sometimes	  justifiable,	  provided	  certain	  conditions	  are	  met.	  The	  authors	  and	  editors	  of	  the	  journals	  concerned	  
must	  agree	  to	  the	  secondary	  publication,	  which	  must	  reflect	  the	  same	  data	  and	  interpretation	  as	  the	  primary	  
document.	  The	  primary	  reference	  must	  be	  cited	  in	  the	  secondary	  publication.	  Further	  detail	  on	  acceptable	  
forms	  of	  secondary	  publication	  can	  be	  found	  at	  www.icmje.org.



3.1.5	  Acknowledgement	  of	  Sources
The	  work	  of	  others	  must	  always	  be	  properly	  acknowledged.	  Authors	  should	  cite	  publications	  that	  have	  
influenced	  the	  reported	  work.	  Information	  obtained	  privately,	  as	  in	  conversation,	  correspondence,	  or	  
discussion	  with	  third	  parties,	  must	  not	  be	  used	  or	  reported	  without	  explicit,	  written	  permission	  from	  the	  
source.	  Information	  obtained	  in	  the	  course	  of	  confidential	  services,	  such	  as	  refereeing	  manuscripts	  or	  grant	  
applications,	  must	  not	  be	  used	  without	  the	  explicit	  written	  permission	  from	  the	  author(s)	  of	  the	  work	  
concerned.



3.1.6	  Authorship	  of	  the	  Paper
Authorship	  should	  be	  limited	  to	  those	  who	  have	  made	  a	  significant	  contribution	  to	  the	  conception,	  design,	  
execution,	  or	  interpretation	  of	  the	  reported	  study.	  All	  those	  who	  have	  made	  significant	  contributions	  should	  
be	  listed	  as	  co-­‐authors.	  Where	  there	  are	  others	  who	  have	  participated	  in	  substantive	  aspects	  of	  the	  research	  
project,	  but	  who	  do	  not	  qualify	  as	  authors,	  they	  should	  be	  acknowledged	  or	  listed	  as	  contributors.	  
The	  corresponding	  author	  should	  ensure	  that	  all	  appropriate	  co-­‐authors	  and	  no	  inappropriate	  co-­‐authors	  are	  
included	  on	  the	  paper,	  and	  that	  all	  co-­‐authors	  have	  approved	  the	  final	  version	  of	  the	  paper	  and	  have	  agreed	  to	  
its	  submission	  for	  publication.	  




3.1.7	  Fundamental	  errors	  in	  published	  works	  
When	  an	  author	  discovers	  a	  significant	  error	  or	  inaccuracy	  in	  his/her	  own	  published	  work,	  it	  is	  the	  author’s	  
obligation	  to	  promptly	  notify	  the	  journal	  editor	  or	  publisher	  and	  cooperate	  with	  the	  editor	  to	  retract	  or	  correct	  
the	  paper.	  




3.2	  Editors
3.2.1	  Publication	  decisions
The	  Editor	  of	  a	  journal	  is	  solely	  and	  independently	  responsible	  for	  deciding	  which	  of	  the	  articles	  submitted	  to	  
the	  journal	  should	  be	  published.	  The	  validation	  of	  the	  work	  in	  question	  must	  always	  form	  the	  basis	  for	  such	  
decisions.	  The	  Editor	  may	  be	  guided	  by	  the	  policies	  of	  the	  journal's	  editorial	  board	  and	  constrained	  by	  such	  
legal	  requirements	  as	  shall	  then	  be	  in	  force	  regarding	  libel,	  copyright	  infringement	  and	  plagiarism.	  The	  editor	  
may	  confer	  with	  other	  editors	  or	  reviewers	  in	  making	  this	  decision.	  
	  
All	  editorial	  decisions	  shall	  be	  made	  without	  regard	  to	  the	  race,	  gender,	  age,	  sexual	  orientation,	  religious	  
belief,	  ethnic	  origin,	  citizenship,	  or	  political	  philosophy	  of	  the	  authors.	  

The	  relationship	  of	  Editors	  to	  Learned	  Societies	  who	  publish	  their	  journal	  is	  often	  complex.	  However,the	  
relationship	  should	  be	  based	  firmly	  on	  the	  principle	  of	  editorial	  independence.


3.2.2	  Vigilance	  over	  published	  record	  
An	  editor	  presented	  with	  convincing	  evidence	  that	  the	  substance	  or	  conclusions	  of	  a	  published	  paper	  are	  
erroneous	  should	  coordinate	  with	  the	  publisher	  (and/or	  society)	  to	  promote	  the	  prompt	  publication	  of	  a	  
correction,	  retraction,	  expression	  of	  concern,	  or	  other	  note,	  as	  may	  be	  relevant.



3.2.3	  Involvement	  and	  cooperation	  in	  investigations
An	  editor	  should	  take	  reasonably	  responsive	  measures	  when	  ethical	  complaints	  have	  been	  presented	  
concerning	  a	  submitted	  manuscript	  or	  published	  paper,	  in	  conjunction	  with	  the	  publisher	  (or	  society).	  Such	  
measures	  should	  be	  carried	  out	  with	  due	  process	  and	  will	  generally	  include	  contacting	  the	  author	  of	  the	  
manuscript	  or	  paper	  and	  giving	  due	  consideration	  of	  the	  respective	  complaint	  or	  claims	  made,	  but	  may	  also	  
include	  further	  communications	  to	  the	  relevant	  institutions,	  research	  organisations	  and	  funding	  bodies.
	  
Each	  editor	  should	  ensure	  that	  any	  allegations	  of	  research	  and	  publication	  misconduct	  and	  their	  outcomes	  are	  
documented.	  
	  
For	  more	  examples	  see	  the	  COPE	  Flow	  Charts	  




3.3	  Reviewers
3.3.1	  Contribution	  to	  Editorial	  Decisions
Peer	  review	  assists	  editors	  in	  making	  editorial	  decisions	  and	  may	  also	  assist	  authors	  in	  improving	  their	  papers.	  
Peer	  review	  is	  an	  essential	  component	  of	  formal	  scholarly	  communication,	  and	  lies	  at	  the	  heart	  of	  the	  scientific	  
method.	  It	  is	  generally	  agreed	  that	  scholars	  who	  wish	  to	  have	  their	  own	  work	  published	  in	  journals	  have	  an	  
obligation	  to	  do	  a	  fair	  share	  of	  reviewing	  for	  these	  journals.



3.3.2	  Promptness
Any	  selected	  reviewer	  who	  feels	  unqualified	  to	  review	  the	  research	  reported	  in	  a	  manuscript	  or	  knows	  that	  its	  
prompt	  review	  will	  be	  impossible	  should	  notify	  the	  editor	  and	  excuse	  him/herself	  from	  the	  review	  process.	  



3.3.3	  Standards	  of	  Objectivity
Reviews	  should	  be	  honest,	  objective	  and	  free	  from	  personal	  prejudice.	  Personal	  criticism	  of	  the	  author	  is	  
inappropriate.	  Reviewers	  should	  express	  their	  views	  clearly	  with	  supporting	  arguments.
3.3.4	  Acknowledgement	  of	  Sources
Reviewers	  should	  identify	  relevant	  published	  work	  that	  has	  not	  been	  cited	  by	  the	  authors.	  Any	  statement	  that	  
an	  observation,	  derivation,	  or	  argument	  had	  been	  previously	  reported	  should	  be	  accompanied	  by	  the	  relevant	  
citation.	  A	  reviewer	  should	  also	  call	  to	  the	  editor's	  attention	  any	  substantial	  similarity	  or	  overlap	  between	  the	  
manuscript	  under	  consideration	  and	  any	  other	  published	  paper	  of	  which	  they	  have	  personal	  knowledge.




3.4	  Publishers
3.4.1	  Editorial	  Independence
Publishers	  should	  respect	  the	  principle	  of	  editorial	  independence	  outlined	  in	  3.2.1	  above.	  



3.4.2	  Published	  record
A	  publisher	  presented	  with	  convincing	  evidence	  that	  the	  substance	  or	  conclusions	  of	  a	  published	  paper	  are	  
erroneous	  should	  coordinate	  with	  the	  editor	  (and/or	  the	  society)	  to	  ensure	  prompt	  publication	  of	  a	  correction,	  
retraction,	  expression	  of	  concern,	  or	  other	  note,	  as	  may	  be	  relevant	  	  
	  


3.4.3	  Third	  party	  contracts	  to	  publish	  
Third	  party	  contracts	  to	  publish	  between	  a	  contract	  publisher	  and	  the	  owner	  of	  the	  publication	  should	  include	  
mention	  of	  these	  guidelines.	  



4.	  Further	  reading:
http://www.consort-­‐statement.org	  
	  (standards	  for	  randomized	  trials)	  
http://www.publicationethics.org.uk	  
(COPE—Committee	  on	  Publication	  Ethics)
http://www.icmje.org	  
(Uniform	  requirements	  for	  manuscripts	  submitted	  to	  biomedical	  journals)	  
http://www.wame.org	  
(World	  Association	  of	  Medical	  Editors)	  
http://www.stm-­‐assoc.org	  	  
(The	  STM	  trade	  association-­‐-­‐-­‐	  see	  the	  public	  documents	  section	  for	  “Preservation	  of	  the	  Objective	  Record	  of	  
Science	  -­‐-­‐	  An	  STM	  Guideline”)
